                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

  REBECCA CARTEE-HARING

  v.                                                 CIVIL ACTION NO. 20-1995
  CENTRAL BUCKS SCHOOL DISTRICT

  DAWN MARINELLO,
  individually and on behalf of similarly
  situated female employees,
                                                     CIVIL ACTION NO. 21-2587
  v.

  CENTRAL BUCKS SCHOOL DISTRICT

     ORDER RE: PLAINTIFF DAWN MARINELLO’S MOTION FOR FINAL
 CERTIFICATION, OR IN THE ALTERNATIVE, CONDITIONAL CERTIFICATION
        OF COLLECTIVE ACTION AND FOR CLASS CERTIFICATION

       AND NOW, this 24th day of August, 2022, upon consideration of Plaintiff’s Motion for

Final Certification of Collective Action and for Class Certification (ECF 27), Defendant’s

Response in Opposition (ECF 30), the testimony heard by the Court on June 28, 2022 (ECF 38),

and the parties’ supplemental briefing (ECF Nos. 52 and 53), it is hereby ORDERED that

Plaintiff’s Motion for Final Certification of this action to proceed as a collective action is

GRANTED. The collective class includes,

              All women teachers employed by the District from 2000 through the
              present who have been subject to compensation under the District’s
              applicable Salary Schedules who were treated less favorably than
              male teachers employed by the District from 2000 through the
              present with respect to compensation under the applicable Salary
              Schedules.

       Plaintiff’s Motion, in the alternative, for Conditional Certification of this action to proceed

as a collective action is therefore DENIED as moot. Plaintiff withdrew her Motion for FED. R.



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CIV. P. 23 Class Certification during the evidentiary hearing on June 28, 2022.



                                                    BY THIS COURT:

                                                     /s/ MICHAEL M. BAYLSON
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                                                    MICHAEL M. BAYLSON, U.S.D.J.




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